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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


                          NO. 4:20-CV-00064


                          ISAIAH HUMPHRIES,

                                         Plaintiff
                               v

                      THE PENNSYLVANIA STATE
                     UNIVERSITY; JAMES FRANKLIN;
                         and DAMION BARBER

                                         Defendants


MEMORANDUM OF LAW IN SUPPORT PLAINTIFF’S MOTION TO
CERTIFY THE SEPTEMBER 24, 2021, ORDER FOR INTERLOCUTORY
APPEAL AND STAY OF THE PROCEEDINGS IN THE DISTRICT
COURT PENDING APPEAL


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Dated: October 4, 2021             Attorneys for Plaintiff
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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAIAH HUMPHRIES,                          :
                                           :
                  Plaintiff                :     No.   4:20-cv-00064
      v                                    :
                                           :     (The Honorable Matthew W.
THE PENNSYLVANIA STATE                     :      Brann)
UNIVERSITY; JAMES FRANKLIN;                :
and DAMION BARBER                          :
                                           :
                  Defendants               :
                                           :

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO
CERTIFY THE SEPTEMBER 24, 2021, ORDER FOR INTERLOCUTORY
  APPEAL AND STAY OF THE PROCEEDINGS IN THE DISTRICT
                 COURT PENDING APPEAL

      Plaintiff, by and through counsel, files this Memorandum of Law in support

of Plaintiff’s Motion To Certify The September 24, 2021, Order For Interlocutory

Appeal And Stay Of The Proceedings In The District Court Pending Appeal in the

above-captioned matter.


I.    STATEMENT OF FACTS AND PROCEDURAL HISTORY

      This claim is brought by the plaintiff to recover for damage and loss

sustained as a result of the physical, emotional, and sexual abuse perpetrated

against the plaintiff by plaintiff’s football teammates which the University and

football coach failed to take reasonable measures to protect against. On October

16, 2020, the plaintiff filed an Amended (Third) Civil Complaint in the United
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States District Court For The Middle District Of Pennsylvania. The plaintiff’s

action presents claims as set forth: (1) Count I of the Complaint advanced claims

against defendant The Pennsylvania State University pleading a statutory cause of

action asserting that it engaged in behavior which violated the provisions of Title

IX of the Education Amendments of 1972, 20 USCA §1681 et seq.; (2) Count II of

the Complaint advanced claims against defendant The Pennsylvania State

University pleading a common law negligence per se cause of action asserting that

it engaged in behavior which violated the provisions of the “Timothy J. Piazza

Antihazing Law”; (3) Count III of the Complaint advanced claims against

defendant Damion Barber pleading a common law negligence per se cause of

action asserting that he engaged in behavior which violated the provisions of the

Timothy J. Piazza Antihazing Law”; (4) Count IV of the Complaint advanced

claims against defendant The Pennsylvania State University pleading a common

law negligence cause of action asserting it breached an assumed duty of care to

exercise reasonable care to protect the plaintiff against the abuse of teammates and

to refrain from retaliating against the plaintiff for reporting the wrongful teammate

behavior; (5) Count V of the Complaint advanced claims against defendant James

Franklin pleading a common law negligence cause of action asserting he breached

an assumed duty of care to exercise reasonable care to protect the plaintiff against

the abuse of teammates and to refrain from retaliating against the plaintiff for


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reporting the wrongful teammate behavior; (6) Count VI of the Complaint

advanced claims against defendant Damion Barber pleading a common law

negligence cause of action asserting he breached a duty of care to refrain from

retaliating subjecting the plaintiff to physical, emotional, and sexual abuse; (7)

Count VII of the Complaint advanced claims against defendant Damion Barber

pleading a common law assault and battery cause of action; (8) Count VIII of the

Complaint advanced claims against defendants Pennsylvania State University,

James Franklin, and Damion Barber pleading a common law negligence Infliction

of emotional Distress cause of action.       On November 13, 2020, defendants

Pennsylvania State University and James Franklin filed a Motion to Dismiss the

Plaintiff’s Complaint Pursuant to Rule 12(b)(6), Federal Rules of Civil Procedure.

On September 24, 2021, the Court entered an interlocutory order dismissing with

prejudice: Count I against the University for Violation of Title IX of the Education

Amendments of 1972; Count II against the University for negligence per se related

to the Timothy J. Piazza Antihazing Law; Count IV against the University for

negligence; Count V against James Franklin for negligence; and Count VIII against

the University and Franklin for negligent infliction of emotional distress. The

September 24, 2021, order did not dismiss Counts III, VI VII, IX and X of the

Complaint. The September 24, 2021, order did not resolve the entire case and is




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not appealable in the absence of a permissive interlocutory appeal pursuant to

U.S.C. § 1292. The plaintiff’s instant application follows.


II.   ARGUMENT PRESENTED

      A.     STANDARD FOR CERTIFICATION UNDER 28 U.S.C. §
             1292(b)

      A court may certify a non-final order for interlocutory appeal under 28

U.S.C. § 1292(b) if: (1) the order "involves a controlling question of law, (2) a

substantial ground for difference of opinion exists with regard to the issue

involved; (3) an immediate appeal may materially advance the ultimate termination

of the litigation; 1 and (4) the issues in the action are of "nationwide significance”.2

The certification decision rests with the discretion of the district court, and the

court may decline to certify an order even if the parties have satisfied all elements

enumerated in the statute.3 An order involves a controlling question of law if either

(1) an incorrect disposition would constitute reversible error if presented on final

appeal or (2) the question is serious to the conduct of the litigation either

practically or legally.4 A substantial ground for difference of opinion exists when


1 28 U.S.C. § 1292(b); Simon v. United States, 341 F.3d 193, 199 (3d Cir. 2003)
2 Pennsylvania v. Navient Corp., No. 3:17-CV-1814, 2019 U.S. Dist. LEXIS
34990, at *6 (M.D. Pa. Mar. 5, 2019)
3 Knipe v. SmithKline Beecham, 583 F. Supp. 2d 553, 599 (E.D. Pa. 2008); L.R.
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4 Katz v. Carte Blanche Corp, 496 F.2d 747, 755 (3d Cir. 1974); In re Chocolate
Confectionary Antitrust Litig., 607 F. Supp. 2d 701, 704-05 (M.D. Pa. 2009)

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controlling authority fails to resolve a pivotal matter.5 A genuine doubt must exist

about the legal standard governing a particular case.6 The existence of conflicting

judicial opinions provides support for certification of an appeal, as does a lack of

binding precedent.7 Certification for appeal would materially advance the ultimate

termination of the litigation if the appeal could eliminate the need for a trial,

simplify a case by foreclosing complex issues, or enable the parties to complete

discovery more quickly or at less expense. 8 Cases in which discovery has closed

are generally inappropriate for interlocutory appeal because they are rapidly

approaching conclusion under their own momentum.9

      If an original order does not identify a question of law suitable for

interlocutory appeal, the order may by amended to include the requisite language.10



5 Knipe v. SmithKline Beecham, 583 F. Supp. 2d 553, 599 (E.D. Pa. 2008); EBC,
Inc. v. Clark Bldg. Sys., No. Civ.A. 05-01549, 2008 U.S. Dist. LEXIS 21018, 2008
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6 Knipe v. SmithKline Beecham, 583 F. Supp. 2d 553, at 600; In re Chocolate
Confectionary Antitrust Litig., 607 F. Supp. 2d 701, 705-06 (M.D. Pa. 2009)
7 See iI.; Morgan v. Ford Motor Co., No. Civ.A. 06-1080, 2007 U.S. Dist. LEXIS
5455, 2007 WL 269806, at *3 (D.N.J. Jan. 25, 2007); Chase Manhattan Bank v.
Iridium Africa Corp., 324 F. Supp. 2d 540, 545 (D. Del. 2004)
8 Knipe v. SmithKline Beecham, 583 F. Supp. 2d 553, at 599; Patrick v. Dell Fin.
Servs., 366 B.R. 378, 387 (M.D. Pa. 2007); In re Chocolate Confectionary
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9 Patrick v. Dell Fin. Servs., 366 B.R. 378, 387 (M.D. Pa. 2007); FDIC v. Parkway
Executive Office Ctr., No. Civ.A. 96-121, 1997 U.S. Dist. LEXIS 14939, 1997 WL
611674, at *3 (E.D. Pa. Sept. 24, 1997); In re Chocolate Confectionary Antitrust
Litig., 607 F. Supp. 2d 701, 707 (M.D. Pa. 2009)
10 Federal Rule of Appellate Procedure 5; 28 U.S.C. §1292(b)

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Upon certification of the order for interlocutory appeal, defendant must petition the

appellate court for interlocutory review within ten (10) days. 11


      B.     THE SEPTEMBER 24, 2021, INTERLOCUTORY ORDER
             DISMISSING WITH PREJUDICE COUNT I AGAINST THE
             UNIVERSITY FOR VIOLATION OF TITLE IX OF THE
             EDUCATION AMENDMENTS OF 1972 INVOLVES A
             CONTROLLING QUESTION OF LAW AS TO WHICH
             THERE IS SUBSTANTIAL GROUND FOR DIFFERENCE OF
             OPINION AND THAT AN IMMEDIATE APPEAL FROM THE
             ORDER MAY MATERIALLY ADVANCE THE ULTIMATE
             TERMINATION OF THE MATTER

             (i)    The Involvement of Controlling Questions of Law

             Count I of the Complaint involves a controlling question of law. The

order encompasses the district court’s interpretation of the provisions of Title IX of

the Education Amendments of 1972, 20 U.S.C. §1681 et seq. and whether a cause

of action asserting a violation of the provisions of Title IX lies against defendant

the Pennsylvania State University. A ruling of the Court’s incorrect disposition

would constitute reversible error if presented on final appeal.

             (ii)   Substantial Ground for Difference of Opinion

             The Court dismissed Count I against the defendant The Pennsylvania

State University upon the basis that: (1) the plaintiff’s Complaint does not

demonstrate that the plaintiff was harassed upon the basis of his sex; and (2) the

plaintiff did not sufficiently plead that he was retaliated against for reporting

11 28 U.S.C. §1292(b)

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harassing behavior. Determining the plaintiff’s Complaint did not demonstrate that

the plaintiff was harassed upon the basis of his sex, the Court accepted the

plaintiff’s well plead facts that the plaintiff was sexually harassed by male football

player teammates and that Title IX relief may be awarded on the basis of a theory

of impermissible sex stereotyping. However, the Court concluded the plaintiff

failed to state a claim of impermissible sex stereotyping gender-based harassment

upon a basis that the plaintiff plead he was harassed because he failed to live up to

the expectations of the stereotypical toughness and masculinity expected of a

“collegiate football player”, rather than, a “man”. The Court apparently chose not

to give meaningful consideration to paragraphs 107, 108, 109, 116, 163, 164, 165,

166, 174, where the plaintiff is identified as a male. Despite being required to

consider the social norms and general attitudes and beliefs of our society, the Court

apparently chose to arrive at a conclusion that there does not exist a gender-

inspired stereotypical expectation that male collegiate football players demonstrate

masculinity and toughness. Or even more troubling, if such a gender-inspired

stereotype exists, that male collegiate football players because of the expectation

should endure sexually assaultive behavior in the locker room. Determining the

plaintiff’s Complaint did not demonstrate that the plaintiff was retaliated for

reporting protected activity, the Court seemingly ignored the well plead facts

appearing in paragraph 189 (a)-(k) (misnumbered as paragraph 187 (a)-(k)) of the


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pleading. Arriving at its decision to dismiss Count I of the Complaint upon the

basis the plaintiff did not sufficiently plead impermissible sex stereotyping, the

Court applied a hyper-technical review of the averments of the plaintiff’s

Complaint and failed to apply judicial experience and common sense during the

course of review as required by Bell Atlantic Corp. v. Twombly,12 Ashcroft v.

Iqbal,13 Phillips v. Cnty. of Allegheny, 14 and their progeny. Applying the

appropriate plausibility determination, a fair reading of the plaintiff’s Complaint

demonstrates substantial grounds for difference of opinion exist with regard to

whether the plaintiff has plead facts sufficient for a court to raise a plausible

inference that the pleading demonstrated the plaintiff was harassed upon the basis

of his sex and retaliated against for reporting harassing behavior.

             (iii)   An Immediate Appeal From The Order May Materially
                     Advance The Ultimate Termination Of The Matter

             A ruling from the Third Circuit on the district court’s dismissal of

Count I of the Complaint would materially advance the ultimate termination of the

litigation by the avoidance of harm to the plaintiff of a possibly wasted trial time

and litigation expense. Absent a ruling of the Third Circuit on the district court’s

September 24, 2021, interlocutory order dismissing with prejudice Count I of the

Complaint the court will being obligated to convene a trial to dispose of Counts III,

12 550 U.S. 544 (2007).
13 556 U.S. 662 (2009).
14 515 F.3d 224, 228 (3d Cir. 2008).

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VI VII, VIII, IX and X of the Complaint asserted against defendant Damion Barber

which involve a nucleus of facts identical to those material to Count I of the

Complaint. A ruling from the Third Circuit on the district court’s dismissal of

Count I of the Complaint would have the effect of preventing the plaintiff from

suffering the possibility of the prejudice and avoidable wasted time and litigation

expense of a second trial. Accordingly, the issue of whether the totality of the

Complaint raises a plausible inference that defendant The Pennsylvania State

University engaged in behavior which violated the provisions of Title IX of the

Education Amendments of 1972, 20 USCA § 1681 et seq. should properly be

certified for interlocutory appeal under 28 U.S.C. § 1292(b).


      C.     THE SEPTEMBER 24, 2021, INTERLOCUTORY ORDER
             DISMISSING WITH PREJUDICE COUNT II AGAINST THE
             UNIVERSITY FOR NEGLIGENCE PER SE RELATED TO
             THE TIMOTHY J. PIAZZA ANTIHAZING LAW INVOLVES A
             CONTROLLING QUESTION OF LAW AS TO WHICH
             THERE IS SUBSTANTIAL GROUND FOR DIFFERENCE OF
             OPINION AND THAT AN IMMEDIATE APPEAL FROM THE
             ORDER MAY MATERIALLY ADVANCE THE ULTIMATE
             TERMINATION OF THE MATTER

             (i)   The Involvement of Controlling Questions of Law

             Count II of the Complaint involves a controlling question of law. The

order encompasses the district court’s interpretation of the provisions of the

Timothy J. Piazza the Antihazing Law, 2017 Pa. SB 1090, 18 Pa.C.S.A. §§2801-

2811, and whether a cause of action asserting a negligence per se theory of liability

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lies against defendant the Pennsylvania State University arising from a violation of

its provisions. A ruling of the Court’s incorrect disposition would constitute

reversible error if presented on final appeal.

             (ii)   Substantial Ground for Difference of Opinion

             The Court dismissed Count II against the defendant The Pennsylvania

State University upon the basis that although the plaintiff has sufficiently plead the

plaintiff was subjected to wrongful hazing conduct, the plaintiff failed to

sufficiently allege the abuse was for the purpose of initiating the plaintiff onto the

football team. The Court’s interpretation of the parameters of the Timothy J.

Piazza the Antihazing Law seemingly ignore language of the statute which

proscribes the accepted abuse the plaintiff suffered for the purpose of affiliation of

the football team, which encompasses behavior arising after the initiation which

may relate to continuing or enhancing a student’s membership or status in an

organization. Applying the appropriate plausibility determination, a fair reading of

the plaintiff’s Complaint demonstrates substantial grounds for difference of

opinion exist with regard to whether the plaintiff has plead facts sufficient for a

court to raise a plausible inference that the pleading demonstrated that the purpose

of the abusive conduct had a hazing purpose within the meaning of the provisions

of the Timothy J. Piazza the Antihazing Law, 2017 Pa. SB 1090, 18 Pa.C.S.A.

§§2801-2811 giving rise to a negligence per se claim against defendant the


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Pennsylvania State University.

             (iii)   An Immediate Appeal From The Order May Materially
                     Advance The Ultimate Termination Of The Matter

             A ruling from the Third Circuit on the district court’s dismissal of

Count II of the Complaint would materially advance the ultimate termination of the

litigation by the avoidance of harm to the plaintiff of a possibly wasted trial time

and litigation expense. Absent a ruling of the Third Circuit on the district court’s

September 24, 2021, interlocutory order dismissing with prejudice Count II of the

Complaint the court will being obligated to convene a trial to dispose of Counts III,

VI VII, VIII, IX and X of the Complaint asserted against defendant Damion Barber

which involve a nucleus of facts identical to those material to Count II of the

Complaint. A ruling from the Third Circuit on the district court’s dismissal of

Count II of the Complaint would have the effect of preventing the plaintiff from

suffering the possibility of the prejudice and avoidable wasted time and litigation

expense of a second trial. Accordingly, the issue of whether the totality of the

Complaint raises a plausible inference that defendant The Pennsylvania State

University engaged in behavior giving rise to negligence per se claim upon a basis

of its violation of the provisions of the Timothy J. Piazza the Antihazing Law,

2017 Pa. SB 1090, 18 Pa.C.S.A. §§2801-2811 should properly be certified for

interlocutory appeal under 28 U.S.C. § 1292(b).




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      D.     THE SEPTEMBER 24, 2021, INTERLOCUTORY ORDER
             DISMISSING WITH PREJUDICE COUNT IV AGAINST THE
             DEFENDANTS PENNSYLVANIA STATE UNIVERSITY FOR
             NEGLIGENCE AND COUNT V AGAINST JAMES FRANKLIN
             FOR NEGLIGENCE INVOLVE CONTROLLING QUESTIONS
             OF LAW AS TO WHICH THERE ARE SUBSTANTIAL
             GROUNDS FOR DIFFERENCE OF OPINION AND THAT AN
             IMMEDIATE APPEAL FROM THE ORDER MAY
             MATERIALLY ADVANCE THE ULTIMATE TERMINATION
             OF THE MATTER

             (i)    The Involvement of Controlling Questions of Law

             Counts IV and V of the Complaint involve controlling question of

law. The order involves the district court’s interpretation of the application of the

Pennsylvania tort law and whether causes of asserting theories of liability sounding

in negligence lie against defendants Pennsylvania State University and James

Franklin. A ruling of the district court’s incorrect disposition would constitute

reversible error if presented on final appeal.

             (ii)   Substantial Ground for Difference of Opinion

             The Court dismissed Counts IV and V of the Complaint against

defendants The Pennsylvania State University and James Franklin upon the basis

that plaintiff’s Complaint does not allege facts pursuant to which defendants

Pennsylvania State University and James Franklin owe a duty to exercise

reasonable care to protect the plaintiff against the abuse of teammates and to

refrain from retaliating against the plaintiff for reporting the wrongful teammates

behavior.

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      An interlocutory appeal under Section 1292(b) is warranted upon the basis

that substantial grounds for difference of opinion exists with regard to whether the

plaintiff has plead facts sufficient for a court to raise a plausible inference that

defendant The Pennsylvania State University owed a statutory duty of care to

protect the plaintiff from being physically, emotionally, and sexually abused by

teammates in the locker-room pursuant to the provisions of the Timothy J. Piazza

Antihazing Law. The plaintiff incorporates the discussion above as it set forth

herein.

      An interlocutory appeal under Section 1292(b) is warranted upon the basis

that substantial grounds for difference of opinion exist with regard to whether the

plaintiff has plead facts sufficient for a court to raise a plausible inference that

defendants The Pennsylvania State University and James Franklin owed a

contractual duty of care owed to protect the plaintiff from being physically,

emotionally, and sexually abused by teammates in the locker-room as a result of

defendant James Franklin having promised the plaintiff that the plaintiff would be

treated like family and that defendant James Franklin would protect and promote

the health, safety, and welfare plaintiff as if the plaintiff was a “son”, all of which

the plaintiff relied upon to his detriment. Drawing upon judicial experience and

common sense and applying the appropriate plausibility determination, a fair

reading of the plaintiff’s Complaint demonstrates substantial grounds for


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difference of opinion exist with regard to whether the plaintiff has plead facts

sufficient for a court to raise a plausible inference that the pleading demonstrated

defendants The Pennsylvania State University and James Franklin owed a

contractual duty of care owed to protect the plaintiff from being physically,

emotionally, and sexually abused by teammates in the locker-room.

      An interlocutory appeal under Section 1292(b) is warranted upon the basis

that substantial grounds for difference of opinion exists with regard to whether the

plaintiff has plead facts demonstrating the existence of a “special relationship”

between the Penn State defendants and the plaintiff sufficient for a court to raise a

plausible inference that defendants The Pennsylvania State University and James

Franklin owed a duty of care to protect the plaintiff from being physically,

emotionally, and sexually abused by teammates in the locker-room. The

parameters of the duty which a University and collegiate athletic coaches owe to

recruited-scholarship-athletes participating on the school’s intercollegiate athletic

team and whether a “special relationship” exists sufficient to impose a duty of

reasonable care upon a University and collegiate athletic coaches to protect

scholarship-student-athletes from harm being physically, emotionally, and sexually

abused by teammates has remained unanswered by the Supreme Court of

Pennsylvania. What is clear is: (1) the Third Circuit Court of Appeals, in what the

district court refers to as non-binding authority and has declined to follow, has


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predicted that the Supreme Court of Pennsylvania would hold that a “special

relationship” exists between a University and its student-athletes sufficient to

impose a duty of reasonable care upon the University to protect student-athletes

under circumstances; and (2) the Pennsylvania Supreme Court has determined that

a University owes student-athletes a duty of reasonable care under circumstances

upon the theory of assumption, but has yet to specifically address the issue of

whether a “special relationship” exists between a student-athlete participating in

the school’s intercollegiate athletic team and a University or a coach by virtue of

the student-athlete’s status as a recruited scholarship athlete member of the

school’s intercollegiate athletic team sufficient to impose a duty of reasonable care

upon the University to protect scholarship-student-athlete from being physically,

emotionally, and sexually abused by teammates in the locker-room and the

contours of any such duty. Drawing upon judicial experience and common sense

and applying the appropriate plausibility determination, a fair reading of the

plaintiff’s Complaint demonstrates substantial grounds for difference of opinion

exist with regard to whether the plaintiff has plead facts sufficient for a court to

raise a plausible inference that the pleading demonstrated defendants The

Pennsylvania State University and James Franklin owed a duty of care arising from

a special relationship to protect the plaintiff from being physically, emotionally,

and sexually abused by teammates in the locker-room.


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      An interlocutory appeal under Section 1292(b) is warranted upon the basis

that substantial grounds for difference of opinion exists with regard to whether the

plaintiff has plead facts sufficient for a court to raise a plausible inference that

defendants The Pennsylvania State University and James Franklin owed a

contractual duty of care owed to protect the plaintiff from being physically,

emotionally, and sexually abused by teammates in the locker-room as a result of

the affirmative conduct undertaken by the defendants The Pennsylvania State

University and James Franklin. Drawing upon judicial experience and common

sense and applying the appropriate plausibility determination, a fair reading of the

plaintiff’s Complaint demonstrates substantial grounds for difference of opinion

exist with regard to whether the plaintiff has plead facts sufficient for a court to

raise a plausible inference that the pleading demonstrated defendants The

Pennsylvania State University and James Franklin owed an assumed duty of care

to protect the plaintiff from being physically, emotionally, and sexually abused by

teammates in the locker-room.

      An interlocutory appeal under Section 1292(b) is warranted upon the basis

that substantial grounds for difference of opinion exists with regard to whether the

plaintiff plead facts sufficient for a court to raise a plausible inference that

defendant the Pennsylvania State University owed the plaintiff a duty of reasonable

care to protect the plaintiff from being physically, emotionally, and sexually


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abused by teammates which occurred in the on campus building, the Lasch

Building, upon a theory of premise liability in light that the plaintiff specifically

plead defendant the Pennsylvania State University was the possessor of the Lasch

Building which was open to the public for entry for its business purposes.

Applying the appropriate plausibility determination, a fair reading of the plaintiff’s

Complaint demonstrates substantial grounds for difference of opinion exist with

regard to whether the plaintiff has plead facts sufficient for a court to raise a

plausible inference that the pleading demonstrated circumstances pursuant to

which the defendants the Pennsylvania State University and James Franklin owed

the plaintiff a duty by virtue of statute, contract, the doctrine of assumption, the

doctrine of implication, and the common law principles of premise liability to

exercise reasonable care to protect the plaintiff against the abuse of teammates and

to refrain from retaliating against the plaintiff for reporting the wrongful

teammates’ behavior. Moreover, an interlocutory appeal under Section 1292(b) is

warranted upon the basis that the issues in raised Counts IV and V of the

Complaint are of nationwide significance. The Third Circuit's determination of the

issues raised in Counts IV and V of the Complaint could potentially have a

widespread impact upon the management of scholarship-student-athletes in

Universities, not only in the Commonwealth of Pennsylvania, but across the United

States.


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             (iii)   An Immediate Appeal From The Order May Materially
                     Advance The Ultimate Termination Of The Matter

             A ruling from the Third Circuit on the district court’s dismissal of

Counts IV and V of the Complaint would materially advance the ultimate

termination of the litigation by the avoidance of harm to the plaintiff of a possibly

wasted trial time and litigation expense. Absent a ruling of the Third Circuit on the

district court’s September 24, 2021, interlocutory order dismissing with prejudice

Counts IV and V of the Complaint the court will being obligated to convene a trial

to dispose of Counts III, VI VII, VIII, IX and X of the Complaint asserted against

defendant Damion Barber which involve a nucleus of facts identical to those

material to Counts IV and V of the Complaint. A ruling from the Third Circuit on

the district court’s dismissal of Counts IV and V of the Complaint would have the

effect of preventing the plaintiff from suffering the possibility of the prejudice and

avoidable wasted time and litigation expense of a second trial. Accordingly, the

issue of whether the totality of the Complaint raises a plausible inference that

defendants the Pennsylvania State University and James Franklin owed the

plaintiff a duty to exercise reasonable care to protect against from being physically,

emotionally, and sexually abused by teammates should properly be certified for

interlocutory appeal under 28 U.S.C. § 1292(b).




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      E.     THE SEPTEMBER 24, 2021, INTERLOCUTORY ORDER
             DISMISSING WITH PREJUDICE COUNT VIII AGAINST
             DEFENDANTS PENNSYLVANIA STATE UNIVERSITY AND
             JAMES FRANKLIN FOR NEGLIGENT INFLICTION OF
             EMOTIONAL    DISTRESS  INVOLVE   CONTROLLING
             QUESTIONS OF LAW AS TO WHICH THERE ARE
             SUBSTANTIAL GROUNDS FOR DIFFERENCE OF OPINION
             AND THAT AN IMMEDIATE APPEAL FROM THE ORDER
             MAY    MATERIALLY   ADVANCE    THE  ULTIMATE
             TERMINATION OF THE MATTER

             (i)    The Involvement of Controlling Questions of Law

             Count VIII of the Complaint involves a controlling question of law.

The order involves the district court’s interpretation of the application of the

Pennsylvania tort law and whether causes of asserting a theory of liability

sounding in negligent infliction of emotional distress lie against the defendants

Pennsylvania State University and James Franklin. A ruling of the district court’s

incorrect disposition would constitute reversible error if presented on final appeal.

             (ii)   Substantial Ground for Difference of Opinion

             The Court dismissed Count VIII of the Complaint against the

defendantS The Pennsylvania State University and James Franklin upon the basis

that plaintiff’s Complaint does not allege facts demonstrating the existence of a

special relationship between the Penn State defendants and the plaintiff which

would give rise to a compensable claim under the tort theory of liability of

negligent infliction of emotional distress. Although the Third Circuit Court of

Appeals, in what the district court refers to as non-binding authority and has

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refused to follow, has predicted that the Supreme Court of Pennsylvania would

hold that a “special relationship” exists between a University and its student-

athletes sufficient to impose a duty of reasonable care upon the University to

protect student-athletes under circumstances, no court in Pennsylvania has

addressed whether the relationship existing between a recruited-scholarship-athlete

participating on the school’s intercollegiate athletic team and the coach is a

“special relationship” within the meaning of a claim under the tort theory of

recovery of negligent infliction of emotional distress.      Drawing upon judicial

experience and common sense and applying the appropriate plausibility

determination, a fair reading of the plaintiff’s Complaint demonstrates substantial

grounds for difference of opinion exist with regard to whether the plaintiff has

plead facts sufficient for a court to raise a plausible inference that the pleading

demonstrated the existence of a special relationship between a recruited-

scholarship-athlete participating on the school’s intercollegiate athletic team and

the coach sufficient to impose negligent infliction of emotional distress tort theory

of liability.

                (iii)   An Immediate Appeal From The Order May Materially
                        Advance The Ultimate Termination Of The Matter

                A ruling from the Third Circuit on the district court’s dismissal of

Count VIII of the Complaint would materially advance the ultimate termination of

the litigation by the avoidance of harm to the plaintiff of a possibly wasted trial

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time and litigation expense. Absent a ruling of the Third Circuit on the district

court’s September 24, 2021, interlocutory order dismissing with prejudice Count

VIII of the Complaint the court will being obligated to convene a trial to dispose of

Counts III, VI VII, VIII, IX and X of the Complaint asserted against defendant

Damion Barber which involve a nucleus of facts identical to those material to

Count VIII of the Complaint. A ruling from the Third Circuit on the district court’s

dismissal of Count VIII of the Complaint would have the effect of preventing the

plaintiff from suffering the possibility of the prejudice and avoidable wasted

time and litigation expense of a second trial. Accordingly, the issue of whether the

totality of the Complaint raises a plausible inference that defendants the

Pennsylvania State University and James Franklin are liable to the plaintiff under

the tort theory of liability of negligent infliction of emotional distress should

properly be certified for interlocutory appeal under 28 U.S.C. § 1292(b).



III.   CONCLUSION

       For all the reasons set forth above, plaintiff respectfully requests that this

Court amend the September 24, 2021, interlocutory order to set forth expressly the

statement specified in 28 U.S.C. §1292 that the interlocutory order involves a

controlling question of law to which there is substantial ground for difference of

opinion and that an immediate appeal from the order may materially advance the


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ultimate termination of the matter and stay the proceedings in the district court

pending appeal in the above-captioned matter.




                                     Respectfully submitted,

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Dated: October 4, 2021               Attorneys for Plaintiff




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